          Case: 3:20-cv-00927-bbc Document #: 8 Filed: 10/21/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 JAMES M. UPTHEGROVE,

         Plaintiff,                                                  ORDER
    v.
                                                              Case No. 20-cv-927-bbc
 MMHI MEDICAL DIRECTOR, et al.,

         Defendants.


         On October 14, 2020, I denied plaintiff James M. Upthegrove’s motion for

reconsideration of my October 5 order directing plaintiff to submit a resident account

statement in support of his a motion for leave to proceed without prepayment of the filing

fee. Dkt. 6. Now plaintiff has submitted a second motion for reconsideration of my

October 5 order, indicating that he is a patient at Mendota Mental Health Institute, and

therefore is not subject to the requirements of 28 U.S.C. § 1915(a)(2). Dkt. 7.

         As stated in my October 14 order, this court uses one mechanism—the mechanism

set forth in 28 U.S.C. § 1915—to determine indigency status for all litigants, even for a

patient at a treatment facility that requests leave to proceed in forma pauperis. Therefore,

plaintiff’s second motion for reconsideration is denied.        I will give plaintiff another

extension of time until November 12, 2020, to submit a resident account statement for

the six-month period preceding the filing of his complaint.

         As for plaintiff’s Motion for Emergency Temporary Restraining Order and

Injunctive Relief, dkt. 7, Judge Crabb will address that motion in a separate order.
 Case: 3:20-cv-00927-bbc Document #: 8 Filed: 10/21/20 Page 2 of 2




                                  ORDER

IT IS ORDERED that:

1.    Plaintiff’s second motion for reconsideration, dkt. 7, is DENIED.

2.    Plaintiff may have until November 12, 2020 to submit a resident account

      statement for the period beginning approximately April 5, 2020 and ending

      approximately October 5, 2020.

3.    If, by November 12, 2020, plaintiff fails to respond to this order, I will

      assume that plaintiff wishes to withdraw this action voluntarily. In that

      event, the case will be closed without prejudice to plaintiff filing the case at

      a later date.




      Entered this 21st day of October, 2020.

                           BY THE COURT:


                           /s/
                           PETER OPPENEER
                           Magistrate Judge
